   Case: 1:20-cv-00535 Document #: 44 Filed: 06/03/20 Page 1 of 1 PageID #:2769




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
                Plaintiff,                           Case No. 20-cv-00535

       v.                                            Judge Charles R. Norgle

YAO LONG HE, et al.,                                 Magistrate Judge M. David Weisman

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Tommy

Hilfiger Licensing LLC (“Tommy Hilfiger”) hereby dismisses this action, with leave to reinstate

within one hundred and eighty (180) days, as to the following Defendant:

               Defendant Name                                      Line No.
                  Lous Store                                         106

Dated this 3rd day of June 2020.            Respectfully submitted,

                                            /s/ RiKaleigh C. Johnson
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
                                            Isaku M. Begert
                                            Greer, Burns & Crain, Ltd.
                                            300 South Wacker Drive, Suite 2500
                                            Chicago, Illinois 60606
                                            312.360.0080 / 312.360.9315 (facsimile)
                                            aziegler@gbc.law
                                            jgaudio@gbc.law
                                            rjohnson@gbc.law
                                            ibegert@gbc.law

                                            Counsel for Plaintiff
                                            Tommy Hilfiger Licensing LLC
